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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                               Crim. No. 10-165(3) (DSD/JJK)

                      Plaintiff,
                                                                     Order
v.


Stacie Marie Ott,

                      Defendant.



       The above matter comes before the court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated September 10, 2010. No objections have

been filed by defendant Stacie Marie Ott to that Report and Recommendation in the time period

permitted. Based on the Report and Recommendation of the Magistrate Judge, on all of the files,

records, and proceedings herein, the court now makes and enters the following Order.

       IT IS HEREBY ORDERED that:

       1.     Defendant Stacie Marie Ott’s Motion to Sever Defendant (Doc. No. 85), is

DENIED WITHOUT PREJUDICE; and

       2.     Defendant Stacie Marie Ott’s Motion for Disclosure of Co-Defendants’

Statements (Doc. No. 77), is DENIED.


Date: September 30, 2010
                                            s/David S. Doty
                                            David S. Doty, Judge
                                            U.S. District Court
